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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

Odette K. Oliver Cyrus

~ Plaintiffis)

Vv. Civil Action No, 1:22-cv-05955-AMD-TAM

TRC Companies et al

Defendant(s)

 

 

SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address)

(Please see attached rider page)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney.
whose name and address are: Pro Se Plaintiff:

Odette K. Oliver Cyrus
216 22 102nd Avenue
Queens Village, NY 11429

If you fail to respond, judgment by default will be entered against you for the relief demanded i in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY.

CLERK OF COURT

   

Date: 10/03/2022 LL

 

 

S/enature of C ‘lerk or Deputy Clerk
Defendants Rider Pages

. Sylvia Brown

e Atm: TRC Office of the General Counsel 21 Griffin Road North, Windsor,
Connecticut, 06095

© 10 Maxwell Drive, Suite 200, Clifton Park, NY 12065

. John Franceschina

© 38 Cedar Ridge Ln, Dix Hills NY 11746

@ 395 North Service Rd, Suite 409 Melville, NY 11747

e Attn: TRC Office of the General Counsel 2] Griffin Road North, Windsor,
Connecticut, 06095

- Sean Mongan

@ 5 Wyndham Ln, Holbrook, NY 11741

e 395 North Service Rd. Suite 409 Melville, NY 11747

e Att: TRC Office of the General Counsel 21 Griffin Road North, Windsor,

Connecticut, 06095

. Shannen McDonald

® 12 Sterling Ave, Patchogue, NY 11772

e 60 Brooklyn Ave, Merrick, NY 11566

e 395 North Service Rd, Suite 409 Melville, NY 11747

. Laura Lenhart Raimey

® Attn: TRC Office of the General Counsel 21 Griffin Road North, Windsor,
Connecticut, 06095

e Attn: TRC Office of the General Counsel
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255 California Street, Suite 400, San Francisco, CA 94111
e Attn: Chief People Officer at TRC Companies Laura Raimey

255 California Street, Suite 400, San Francisco, CA 94111

6. Regina Robertson
e Attn: TRC Office of the General Counsel 21 Griffin Road North, Windsor,
Connecticut, 06095
. @ 116 Hunter Ave Oakland, CA 94603

e Attn: TRC Office of the General Counsel
255 California Street, Suite 400, San Francisco, CA 94111

7, TRC Companies
e Att: TRC Office of the General Counsel 21 Griffin Road North, Windsor,

Connecticut, 06095
e Attn: TRC Office of the General Counsel 395 North Service Rd, Suite 409

Melville, NY 11747
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PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

© I personally served the summons on the individual at (place)

 

on (date) 5 or

 

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© | served the summons on fname of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) ;or
© I returned the summons unexecuted because ; OF
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

Server's address

Additional information regarding attempted service, etc:
